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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY


   IN RE: JOHNSON & JOHNSON
   TALCUM POWDER PRODUCTS
   1ARKE’11NC, SALES PRACTICES,
   ANI) PROI)UCTS LIABILITY                                 Mi)L No. 16-2738 (FLW) (LHG)
   LITIGATION
                                                                          ORDER
   l’his Document Applies to All Actions Filed
   Against I)elndant Personal Care Products
   Council Listed in Exhibit A


                            ORDER OF DISMISSAL PURSUANT TO CMO JO

           WHEREAS, on l.’ebruary 22, 2t)18, this Court entered Case Management Orde;. No. 10

   [I)kt. No, 4767] (“CMO 10”);
                                                                                            period
           WHEREAS, CM() 10 held, in relevant part: “Following the expiration of the 60-day
                                                                                         h    proces    s
   specified in paragraph 2, each and every civil action (other than those amended throug the
                                                                                            aint for
   described above) that has been either designated in Paragraph 10 of the Short form Compl
                                                                                                 Jersey or
   remand to a U.S. I)istrict Court other than the U.S. District Court for the District of New
                                                                                           for coordinated
   the U.S. District Court for the District of Columbia and/or transferred to this Court
                                                                                     U.S. District Court
   or consolidated pretrial proceedings from a U.S. District Court other than the
                                                                                         bia is hereby
   for the District of New .Jersey or the U.S. i)istrict Court for the I)istrict of Colum

   DISMISSED as to Defendant PCPC only;”
                                                                                      April 24,
           Wl{EREAS, the 60-day i,eriod specified in paragraph 2 of CMO 10 expired on

   2018;
                                                                                                    CMO
           WHEREAS, pursuant to CMO 1 0, all of the cases that were filed prior to the entry of
                                                                                       District Court for
   10 that named Defendant PCPC, but were not set for remand in either the U.S.
                                                                                       bia and were not
   the District of New Jersey or the U.S. District Court for the District of Colum



   50249469v, I
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                                                                                     Jersey or the U.S.
  transferred to this Court from the U.S. District Court for the District of New
                                                                                       within the 60-day
  1)istrict Court tor the i)istrict of Columbia, and were not amended or reified
                                                                            (collec      tively, the “Pre
  period, should be dismissed without prejudice, as to l)efendant PCPC only

  CMO 10 Cases”);
                                                                                                each of the
          For all of the reasons set forth in CMO 10, IT IS HEREBY ORDEREI) that
                                                                        ec,              as to I)efendant
  Pre-CN() Cases identified in Exhibit A are 1)ISMISSED, without preudi

   PCPC only. And it is
                                                                                             in a case not
          FURTHER ORDERED that in the event a dismissal is inadvertently entered
                                                                               grounds for the effected
   subject to dismissal for the reasons stated above, this will constitute
                                                                             limitat   ions in such a case
   plaintiff to reinstate his or her action against PCPC, and the statute of
                                                                               reinstatement.
   would be tolled from the date of the entry of dismissal until the date of


           This        day of October, 2018



                                                  ri
                                                  UNITEI) STATES DIS’T(RICT JUDGE




    50249469v. I
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                         Exhibit A




   50249469v. I
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 Mains. Darlene and Jerry                                                  3:t7.cv-O5QO                     Harrison Davis Staakley Momson Jones, PC
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 Adams, Mel esa and Richard                                                3:lTcv’0557f                     8hlzw Law
 Adams. Toni                                                               3:17-cv-09726                    Onderlaw tiC
 Adcock, Nancy                                                             317-cv-f 1313                    Hart UcLaughlln & Eldndpe
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  dtoftar. Eva                                                              3:1?-cv4)6785                   Ondedw tiC
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 Alma. Alexandra                                                            3:f?cv-13396                     Beasley, Allen, Crow, Methein. Portia, Miles, PC
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     dqe, Nicole
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 Albertin, Lisa                                                  —          3:1 7cv-Q7O6                     Onderlaw CCC
 Alcala, Ralph, for Susana Akala. Darron Alcala, Samarab Avarado, Ryan
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 Alcala, Jonathan Alcala, Joseph Alcala
 Aldridgn,, Susan                                                           3:11-cv.08645          --           Beastey, Alien, Crow, Methvln. POrtis, Miles, PC
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 Alex, Vera
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 Alexander, belle                                                           3’17-cvO878?                        Onderlaw LLC
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 Alexander, Patricia
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  tox! (or the estate of Deedro Akxendør
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 Alford, VickI
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 Alqur, Dorothy
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 Allenboc, Jack obo Tamara Ahnbotg
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 Allison, Andrea Kay
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 Allison. Helen                                                                                -




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  Allison, Richard for the estate of Dma Allison
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 Alhuo, LInda
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  Atalani, Shalatlu tar the estate at Diunna Aislon
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  Atzannora. Mary
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  Amadon, Joanna
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  Amburn, Shay
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  AmId, Heather and Steven
  Amos ill, Eitsworth tot Mary Jo Amos                                       3:17-cv-12388                       The Simon law Firm. PC
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  Artdcrs, Nnoml and Buddy
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  Anderson, John for the estate 01 Charlotte Andersen
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  Andersen, Tracoy
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  Anderson Cynthia
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  Anderson, Diana
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 MpeI. Sarah Marie aba Cindy Angel                                     3:1 ?‘-cv-O927           Beasloy. AUn, Crow. Methvrn Portia. Miles, PC
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 Amos, James for Mary Antos                                -           3:1-cv-12Ofl             Robinson Calcagn4e INC
 AppleIioM. Sandra                                                      3:1 7-ov-03080           Saunders a Walker. PA
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 Aqulilna. Kevin for City Aquiline
 Archer, Donna                                                          3:17-cv-Q8543            fleaslay, MoCrow, Mathvln, Pores, Miles. PC
 Archuleta, Ranee br lanai Owens                                        3:17-cv1O656             Golmb & Honick PC
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 Aron. Dana
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 ArmrJo_James for the estate of Mary Rose Coppler Amitio                3 17-cv 11653            Hwdsan Davis Steakley Morrison Jones PC
 Armstrong, Belly                                                       3:17cv-08?77             Onuerlaw LIC
 AsUong, Dawn                                                           3:17.cv-06804            The Simon Law PC
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 Arnofl, Richard for the estate of Phyfias Arnoff                       3;1B.cv-0Y228             Rhekigold Gitiltra Rub a Plolkin LIP
 Arnold, Margaret and David                                             3;15-cv-01219             Merlin & Saftrman LIP
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 Arrodondo, Rebecca
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  Ascger, Mary by Bradley Aschinger                                      3:17ev..10941            CaMs Mahoney ICC
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  Ashbum, Linda
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  AShIOn. Janice                                                         3:18cv4)Q8fl             Beasley, Men, Crow, Mathvin, Portia, Miles, PC
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  Ashlan, Marie
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  Ashwoqth, Carcil
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  Astudlilo, Joan and Mark
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  Atherton, Yvonne
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  Atkinson, Alyssa Ranee
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  Aulman, Carol                                                          3:17-cv-08846            Beasley,n, Crow. Molhvin. Portls. Miles, PC
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 Baker, Nancy          •_••
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  ‘. Linda
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   irdlill, Mary Jo
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   argo-Chambers, Mary
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 Barker. Janice
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   arrara, Matthew edo Karta Barters
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   erred, Linda
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   arrish, Kathleen
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  Barrow, Renee and Jim
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    artleti, Diana
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    anon, Warida                                                                                      Boasley, Allan, Crow, Methvln, Porlis, Miles, PC
  Baileazok, Joan                                                          3:17-cv-i0g07
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    each, Sandra
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   enolt, Pamela
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    aghauaLAngala                                                                                           The Simon law PC
  Bernet, Margaret                                                             3:1 ?-cvO6771
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    urnbaum, loot for the estate of Debra Burribaurn
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    Bits. Barbara Hatcher and Billy Mack Bolts
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     anco, Ludtino for the estate Of Mary Blanco                                                             Morelli Law Firm PLCC
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     abel, Carolyn and Robert
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      rd Gail                                                                                                 Baron & ButIci, PC
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   Birmingham, Connie                                                         -




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   Blschotf, Erika                                                                                            Polls Law Firm
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      tend Katherine   —

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        uo. Ranee lot the estate of Ida Murphy                                     3:17-cv.11415
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        urn., Lesley                                                                                            Ondetlaw ICC
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       ock, Denise
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   ookhart, Traciy
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  Boutciiar, Elizabeth
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  Bouzon, Michalene tot the estate of Pauline SkintoAltietta
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  Bowden John for the estate of Kathryn Bowclen
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  Rowe, Ruth Elaine
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  Bowens, Janet and Alexander
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  Bowne, Nancy and Norman Bowno Jr.
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  Boxer Richard tot the estate of Mary Ellen Boxer
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   Htencd, Glenda Faye
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   Brandon, Sandra Mae
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   Braswell Gwendolyn
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   Brathwaltc, Antoinette
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   Bravorrnan, Gala
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   Brawand, Marsha
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   Brozol, Larry and Joan
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   Bra?iel, Charita Garbo
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   Brewer, Wendy____
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    Brewer-Etam, Bssi
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    BrIOhI, Barbara tot the estate of Kay Luboid
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      mba, Misty
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      rjnson. Debbie and Ronald
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      rtttori, Charlene                                                                 3:17-cv-10248
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      rixirete, Adulan tot the estate of Norms Vezquez
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   town, Ehzaboth                                                        3:17-cv-0g691                    A.*R G.rai liP
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   town, Esther Ann
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   rown James oba Ano1a Brown                                            3 17.cv 08515       —
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    mown lottery and Rogra tot ma estate of Skuka Brown                   31 7’cv4)5139                   Onder, *heon O’leary & Peterson
    town, Jennifer                                                        3:1 7-cv-09721                  Ondedew LLC
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 8town Ronaki tot the estate of Virginia Brown                            3 17cv 12489                       ott LaW?Irm
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     uchita, Laura
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     uck. Patricia and Ray
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     uckhol Ronald on behalf of the estate of Pamela Buckholz
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   Buliard, Jackie
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   Bullock, Annie
   Bunch, Snerla                                                           3:1 Z’cv-08406                  The Canter LaW Firm
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   T3uncy, Karen
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   Bunt, into Lois Nixon
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   Bunting, Margaret
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   Burkett, Caron and Jerry
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   Burnett, Dawncina                                            -



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   Burnett, Lisa and Bobby, It                                  —,




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   Burnettra, Philip tot 11w estate of Cheryl Bumnelte
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    Burns Ellzabalh
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    Burns, Joanava
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    Burns, Karen
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   alhoon, Sandra
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   athoun, Henry aba Carolyn Caliioun                              3:17-cv-i3455
   aflon, Gladys for the estate of La’Kioaftia Caftan              317’Gv.10745         ob1anboig Law PLLC               -




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   amachp, Elizabeth
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   wneU, Batty and Vearl                                  -        3:17.cv-06963          The Simon Law PC
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  Camp-Gray. Amanda
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  Cinada, Rolenda 1w Thu estate at Mamw Holmes      —




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  Canipo, Natalie
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  Cannon Patricia
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  Contrail, Joseph for the uslahi of Kr,sta) Cantrell
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  Cappollo. Jnico
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  Cappeilo, Tern
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  Cordello, Gnewna
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  Cardwell, James iàr the estate aiiwiika Cardwell
  Catdwei, Stacy        —
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  Cornea, Julie
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  Carney Margaret
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  Carpenter, Chatlyn
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  Carpenter, Sharon
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  Carpenter. Vicky
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  Cart, Melissa Ann
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  Cart Pamela
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   Carniero. Tanya
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   Carglntn, David Ion the estate of Eteanot Carrlngton
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   Carroll, Jufla
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   Carroll, tamara                                                                          Onderlaw CCC
   Carson, Carolyn                                                   3i7.CV13S05
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   Carson, Chnsla
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   Carson, Margie
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   Carter, Bonito
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   Carter, Thomas aba Mile Carter
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   Cartet-Cruz, Bernadette Michelle
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   Carver, Paul abc Lisa Carver  -


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   Caslano, Josephine                                                 3:17-cv.-12706
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 Chandler. Anna          —
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  Charnan, Junv                                                                 3:17.cv-03352
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  Charnoff Phyllis                                                              3 IS.cv.00606
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  Chavez, David lot the estate of Marten Chavez          -




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  Chavez, Kimle Leigh for estate of Sharon Lynn Kenne4y
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  Cholewa, Linda
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  Christian. Patricia (or the estate of Dora Fundemurk                                                                 Beasley. Man, Crow, Methvin, Portia. Miles, PC
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     Matlan, Tracy
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     hristman, Kimberley Elaine (or the estateot Beverly Sharon Louthan
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     hudztk, Brittany                                                                                                  The Lanler Law Firm
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     hval, Vicide                                                                                                      The Simon LarPC
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     ancia, Adniana
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     lark, Anita erut William                                                                                          Busily Men Crow U.uwki Portia Miles PC
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     lark. Carol                                                     -


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     turk, Gwendolyn                                                                                                   HarrIson Davis Sleakiey Morrison Jones, PC
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       ark, Ida                                                           -



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     tstk Jania                                                                                                         Lavm Slates LIP
     lark, Maria                                                                3:1 7.cv. 11320                                           -




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      lark, Mervin aba Sandra Clark      -


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    Clerk, Nlkkr Lynn
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    Clark, Pamela
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    Clark, Palricta                                                                                                     Johnson Becker, PUG
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    Clark, Sunantha                                                                                                     The Lanlar Law Firm
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    Clarke, Ameala                                                                                                      Don Barrell
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    Clarke, James for Walda Clarke                                                                                      The Lanlar Law Firm
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    Clarke. Linda and David                                                                                             Susie) Men. Crow. Mabtvtn Portis Miles PC
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    Clad Nancy                                                                                                          The Simon Law PC
    Clayton. Zenovle                                                             3:1 7-cv-06699
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    Clear, Carolyn                                                                                                      Deasicy, Mlo, Crow. Mothein, Portia, Miles, PC
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    Click, Margaret                                                              3:1S.cv.01018
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    Clifton. Earl for the estate of Maya McKoy                                                                           Beastey Men Crow Methvln PatHs Miles PC
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    Cfne Cheryl                                                                                                          Busily, Allen. Crow, Molhvln. Portia, Miles. PC
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    Cline, Mary
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    Cloud. Raymond for Lire estate of Ruth Cloud                                                                         Bohrer Brady, (IC
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    Clouer, James rot the estate of Blanche Clouser                                                                      Boasley, Men, Crow, Methvin, Portia, Miles. PC
     Ctuts, Karen                                                                 3:1 7.cv.07627
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     Cochran, Edward for GwanUolvr,,,            -
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 Colas. Linda 0(10 Mary Buaby
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 Colay, Edna
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  Collins, Scot (or Esther Collins
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  Calvin, Pamela tar file estate of Susan Colvtn
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  Compaton, David for he stole of Tamara Coinpaton
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  Cannery, Morgan
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    onstant, Katharine
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  Confreres Francisco for the estate of Gloria Ramfraz
    oak, Jannalta                                                     315”av’O0961             Ayletodk, Within, Kreis & Ovethollz
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  Cook, Jerry (or Doris Cook
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  Cooh,$arina                                                         317-cv.10172             Goiianb*eQLawPLLC
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    ook-Wltdor, Anita
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     otmlar, Beverly for the estate ot Johnnie Salman
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   Daniels, Kathryn                                                                                            Walton Teilcen Foster. CCC
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   Daniels, Rhonda   -

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   Daniels, Ronnie lot Yvonne Daniels                                    3:17.av.1225g
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   Darting, Kimberly                                                                                           Potts Law Firm
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   Darr, Marion obo Cheryl Ceregan                                                                             Boastey, Allen, Crow, Mathvin, Podia, Mites, PC
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   Davenport, Larry Jor thu estate at Lola Mae Daviinpott                 3;17’cv42514
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    Davis, Shorica                                                                                              Beastey Allen, Crow, Metbwin, Portia, Mites, PC
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    Davis, Thomas obo Christine Elaine Davis                                                                    Goldenboig Law PLL.C
    Davis, Tosha for the estate ob Shawn Davis                             3:1 7-cv’101?6
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    DiVonanzo. Sandra                                                                                       Daniel Assodatos ICC
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    Dj Frank for the estate of Nancy OlvIta                                                                 Bohtar Brady, CCC
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   nnguez, Paincia and Victor                                               3:17- v-1Qg96
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    vans, Catalina                                                                                    Gotdenbarg Law PLLC
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    vans. Christina                                                                                   Moralli Law Firm PLLC
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    vans Christopher for the estate eli VicId Evans
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    vans, Cynthia
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    vans. Cynthia                                                                                     Ondarlaw U-C
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     vans. Dorothy
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     verest, Nicole                                                                                    Robinson Catcagme INC
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   Fatten, Clara                                                                                       Potts Law Firm
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   Faik, Janet                                                                                         UeuL5y Mon Crow Methvin Portia Mitts PC
   FaLls CynthIa                                                               3 IT-cv-09649
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   Falls, Lena                                                                                         The Canter Law Firm
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   andulio. Kimberly                                                                                   Ventura Law
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  Firas, Maria Thelma and Ricardo Florus III
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  Floros, Rachel
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  Floyd, Crystal ova Brenaa Jean Barley
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  arrafl, Dolores                                                               3:17-cv43823               Onderlaw tIC
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   artDr, Micab for the estate at Barbara Gasperelti
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 estate of Authoree Cynthia Johnston
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  Hayes, Jody                                                                    3:l?-cv-10355
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  Hayes, Kelly                                                                                               Busby Mon Crow Mathvin Portia Mile. PC
  Hayes Kimberly                                                                 3 17-cu 10313
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  Hayes, Sharon
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  Hayes, Veronica
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  Kayhea EJ for the estate of Dadle Kinchlan                                      3 17-ce 11134
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  Hoard, Deborah Ann and Kenneth                                                                             Napdll ShItolnik P1CC
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  Hermiller, Anne                                            ,                     3:17-cu-If 249
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  Hernandoz, Juanita                                                      -




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  Hornandez, Karen                                                                                     Pogustflraalow& MIROd
  Hornendoz, Lena                                                                  3:17-cv-09228
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  Hemandez, Mane and Jose
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  Harnandoz, Regina
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  Høsoux, Jeanne
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  Horrors, Gina aba Hilda Horrors
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  Herriges, Heather
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  Herring. Sharon                                                                                       Levitt Simos UP
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  Horrygers, Ann Made and Randy
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  iflershoy, Thomas for the estate of Gina Zingaro Hershey
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  Herulng, Sharrie
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  Hesotton, Linda
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   Hicks, Bert tar the estale IRuby Lee Hicks                                       3:1?.cv.12937
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   Higgins, Debra                                                             -




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   Highiower Betty                                                                                      Beasley, Man, Crow, Melhvm, PortIa, Miles, PC
   Hill, Doris                          —
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   Hilt, Hazel                                —:
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   Hilt, Janice                                                                     3:17-ov06735                            -




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   Hill, Karen and Robert Hilt                                                      317cv5032
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   Hilt, Keltie
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    HIP, Perneta                                                                                         Ron Feller Casey LIP
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    Hill, Robert for the estate of Dons Jeanelte HIlt
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    HIS, Sammy abe Sherry Hilt                                                                           Beasley, Men, Crow, Methvtn, Porils, Mite,, PC
    Hilt, Whhemia                                                                    3:1 ?-cv-09738
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    Hiilard Karen
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    Hindle, Patricia for the estate of Jeanette Rodenbaugh
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    Hinds Bessie                                                                                         Banley, Alien, Grow, MeLhvln, Portia, Mites, PC
    Hinds, Kristen oeo Ion Nelson-Hinds                                              317-cv-108I6
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    Hines, Carmel
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    HlrI.Belt, Cynthia and Michael Ball
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    Hlevsa, Dennis                                                                    3:17-cv-03505
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    Hoeller Harry Michael lot the estate øf Jeanne Hoalter
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    Hoff, Laura                                                                                           Baasley, Mart, Crw, Metiwki. Portia, M$es,PC
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    Hogrothy                                                                                              The llanier Law Firm
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     Holcomb, Melinda
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     Holdon CynthIa                                                                                       Bernstein Llebhard LIP
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     Holland. Gary tot me estate of Cynthia Holland
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  Hopper. Jenny                                                        3:17-cv.12419              Sanders Phi*pe.Grossman LI-C
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    orowitz Chanel abc Linda Shapiro
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    orion, Crystal
  Horton Deborah Joan                                                  3 17-cv.01 16              Onderlaw ICC
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    oskins, Carol abc Rebecca Goodwin
    oth Kathryn                                                         31 T.cv.09166             Ondartaw ICC
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     award, Ronea                                                       3:t7cv.1221fl              Fleming, Nolan 8 Jez LIP
     award, Tamaka on behalf of Delilah Bums  -
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     udson, Cassandra
   Hudson Char                                                           3 1?.cv.0#077             Beasley Mn Crow Melhvln Paths MIles PC
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   Hudson, Karen                                                         3:17-cv-06988             The Simon LwPC
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   Hull, Pamela Sue
   Hutlrnan Karen                                                        3 17’cv 13833             Ondertaw U-C
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   Hugins, Sandra
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   Hughes CynthIa
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   Hughes. CynthIa and James
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   Hughes James Mike for the estate of Malone Hughes
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   Hughes, Janet
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   Hughes Mary Sue
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    Hughes, Rodgor tot the estate of Deborah Hughes
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      ughns Tommy Otto Cynttila Hughes
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    Hunter James Martin for the ustala of Kimberly Denise Hunter
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    Hunter, Lisa Jetterson for Flora Bet Carter
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    Hunter, Pamela                                                                                   Beaslay. Alan, Crow, Methvtn. PortIa, Mllas PC
    Ilursin, Karen                                                        3:1 Y-cv-08294
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  James, Karen                                                             3:1?cv.0g04O           Benley. Men, Crow Mthvin, Porlii. Miles. PC
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   Jay, Deborah                                                             31?.cv-09046           Biesle, Men Crew, Mthvln. Puta, Mites, PC
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   Jeffrey, Emily
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    Jenkins, Ralph for the estate ci Delta Mae Jenkins
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    Jensen, Craig for the estate of Kaymarie Jensen
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    lenen Dagmot                                                                                   Johnson Backer, PLIC
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     Johnson Elizabeth                                                      3 17’ov 10381
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     Johnson Gary tot tho estate of Rebecca Johnson
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 Johnson, Wdlarn for the estate of Nancy Johnson
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 Jonas, Brenda
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    ones, lcalhndn.
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  Jonas, LaBronda
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    ones. Laura
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    ones, Lee Ann
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    ones Marie and James
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    onus, Matk for the estate of Ramons Jones
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    ones, Rhonda
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  Jones, Rhonda
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  Jones. Susan                                                --




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   Jordan, Badyre                                                                3:18’cv’00549               —




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   Jordan, Beverly
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   Jordan, Carol                                                                                                       Oderlaw CCC
   Jordan, Ginger                                                                3:17’cv-00S55
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      ordan, Lois
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    Judd, JoAnn_                                                                                                       The Lanlur Law Firm
    ludklns. Christine                                                           3:i7-cv-08320
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    Jugo, Margarita
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    Kackloy, Deborah                                                        -



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    Kaczmanek, Debra Lynn
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    Kalman, Donna
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     KemlItz, Rhonda
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     Kane, Robin                                                   -:




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     KathShnran                                                                                                         Potts Law Firm
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     Krnp Floyd tot tIse estate of Virginia kaup                                                                        The Lahertew Firm
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     Kayon, Todd for the estate of Mary Jill Kaylon
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     Kayzer. Tono4a                                                                                                      Ssnglutty Law Firm
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      Kealhng, Edward Thomas (or the estate of Joan Marie Keeling                                                        Pan Barrett
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      Koeno, Robortn                                                                                                     Beasley, Allen, Crow Mettivin, Portia, Mba, PC
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      Koosee, Michael atia Melissa Keosee                                                                                The Canter Law Firm
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 Kennedy, Shennon                                                   3:iO.cv-00320                        Onderlew LLC
 Kennedy. Susan                                                     317-cv42542                          The Simon Law PC
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  haury. Dentist. and Victor                                        3:17-cv-1O?0i                        Walton Telken Foster ICC
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 Kilo. Karl Taylor tot the estate of Carol Taylor           —       3:17-cv-05919                        The Simon Law PC
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 Kimmel, Patricia                                                    3:17-ce-f 0575                       Beasley, Allen Crow, Melhvln. Porthi, Miles. PC
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    ng, Athata and Maureen McConneck                                 317-cv.06735                         The simon Law PC
 King, Cindy                                                         3:17-cv09149                         Beasley. Allen, Crow, Methvin. Paths, Miles, PC
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    rby,Mldislle                                                     3 1?-cv-08428                        The Lenler Law Firm
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    rk, Eva
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    rk, JanIce
 KirkpatrIck, Carmen                                                  3:17-cv-07650              —        Slack & Davis LLP
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    rksoy, Linda
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    car, Angela
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  Kissing, Sandra
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  Knudsen, Theresa
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  Knutson, Joyce and Jon Pearson
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    oppenhaver, Tracy aba Ghana Bishop                                 3:17-cv’10723
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  Komackt, Theresa
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    dsilck, Nancy                                                      3:1 8-cv’4)0428                      Napoil $hkolntk PLLC
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  Kolerass, Mona                                                       3:17-cv-09385                        Beasley, Allen, Crow, Molhvln, Portia, Miles, PC
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  Leone, Rosemary Ciulia                                                       3:17. v”04S1                      --           Bees$yAilán, Crew, M(ftvin, Podia, M4OSPC
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  LoPaga, Wendy
  Lapkowski, Linda Sue and Kenneth          -
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    Lindsay, Donna                                                                    3:17-cv.09458
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     Lohus, Angola and Gerald                                                          3:1?.cv.10880
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     t,qgen, Maria                                                                                                               Law Firm of Roger “Rocky” Walton, PC
     Logan,_Patricii and Michael for thu estate of Shirley Ann Logan                   3:1?-cv-08938
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     Long, Aundrey for the estate of Crystal Long
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  Lone, Edith
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  Lynch. Jennifer
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   Macmurphy. Christina and Shawn                          -      3:1?-cv.05700              Pogust Brasiow& MWod
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   Madison, Donna Davis obo Vera Davis
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  Martin, Marilyn                                                        3:17.cv-09702                   Onderlaw (IC
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   Matoyurts, Jort on behalf of the estate of Lorefta Matayunae
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     asey. Amber aba Donna Mesey
     axwok, Brenda                                                         3,17.cv$0612                     Jones WerdftC
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      aye. Roger and RIchard for the estate of Margaret ]oann Maya
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    McAllster, Valerie                                                      3:17-cv.10418
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 McDowell, Judy
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  McDowelL Tamara
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  uon, Jean
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  tvlcFali,Cara
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  McGarvey Teresa                                                                         Andrews Thornton Higgins Razmara LIP
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  McGee. Brenda
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  McGhae, Deborah                                                                         Beasley, Alien, Crow, Metnvnn, Porlli, Mites. PC
  McGougti, Cathy
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   McGregor, kerin                                                      3:1S”cv.0720
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   MeGuwo, Theresa tar the estate at Maria McGuira
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   McIntyre. Kathleen
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   McKay CliUotd obo Helene Ml’Kay
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   McKee, Susan and LoveS McKee                                                           Don Barrett
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   McKenzie I ohnny the estate of CIlia Merle Cooper         —



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   McKenzie, Kathy
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   McMurray, Beverly
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      chaud, Uaa                                                              17.cv-b933            Beasley, AJan, Crow. Methvtn. Porti,. Miles. PC
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      or, Kimberly
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        er, Mary                                                            3:17.cv-OBe6            Beasley, Allen, Crow, Methvln. Paths, Mites. PC
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        hr. Witle for the estate of Nancy Lester
        tngi Sunny                                                          3 i8..cv-0t450           BsaAllen Crow MathvIn PortIa Mba PC
        Ipon, Ray for the estate of Kathleen MilSeon                        3:1B-cv-00363            MoreC Law Firm PLLC
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    Moak, Barbara tar the estate of Margarel Balikar                         3:11-cv-06450     -     Baum Hedkrnd ArtsleIL Goldman PC
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    Moan, John fur the estate at Deborah Moon
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   Montoya, Aide
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   Moon Nancy
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   Moore, Billy for the estate of Norma Jean Moore
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   Moore, Deanna
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  oren, Corette
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 Morgan, Regina
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 Morton, Angela
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 MoyurNetson for the a .ata of Wanda Leo MartIn
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 Murray, Gloria and Anthony                                  -




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 Myprs. Leans for the estate ci Phyllis Myers
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  Neat, Michelle
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  Noate, Ron for the estate of ]una Robertson                                                      Beasley, Alien, Crow, Methetri, PortIa. Miles. PC
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  Neff, Elizabeth
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  Nelson. Douglas for Joanne Nelson
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  Nelson, Janice Louise                                                 3:tl-cv-13756               BeasleyMon, Crow, Mothvln, Perils. Mitas, PC
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  Nelson, Laurie       —
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 Nowiln, Janet                                                                3:tS.vOO54                 Moms Law FIrm PLLC
 Newport. Karen                                                               3:17-cv-08155              The Carrier Law Firm
 Newton, Cynthia                                                              31Z-cv.1O833               AshaaR 4 GarelL P       -




 Niba, Florence                                                               3:17cv41035                The SImon Law PC
   Ico Susan (or the estate ot Tiffany Poskiwiy                               3 1 l’cv-10?63             Ashctaft & Grol (iP
    chole, mane                                                               3:17.cv-12574              Sanders Philips Grossman LLC
   lehols, Verne                                                              316-Cv.005$                MoraN Law Finn PLIC
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    cholson, Susan Lee
 Nlcoian, John obo Mary Lea Nicolan                                           317-cv4O820                Beasley, Alien, Crow, Melhvln, Perils, Miles, PC
 Nicotra, John for the estate at Cindy Nicoira                                3:17-cv’09412              Ondertaw hG
 Nielson, Mary Alice                                                          311.cv-1f783               MoUsy Rica LLC
 Nail, Leilda                                                                 3:18.cv.01014              Napol Shiroknic PLIC
 Nixon. Robin                                                                 3:1$.cv.OQIOQ              Chappal. SmIth 4 Arden PA
 Noble. Tracy                                                                 3:i7-cv05331               Johnson Becker, PLLC
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 Norris. Sheila                                                                3:1?-cv-06475              Bums Cflareel LIP
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  Nuna, Laurie                                                                 3:17-cv-097f 0    -        Bestey, Men, Crow, Methvln PerIls, Miles, PC
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  Oakley, Thomas (or Rebecca Oakley                                            3.17-cv-10119              Robinson Calcagiile, INC
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  Ochoa, Arteen (or Ana (3nta, Enrique Vicente Octrea Jr as guardian ad
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  O’Connell, Arinomatie and Edward
  OConnol Rgbort for the estate at Laura Oconnoll                              3 17-ce 12S35                 Paid CI,P
  O’Connell, Traci                                                             317-cv-12722                  Onderlaw 1CC
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   Olphanl. Deborah
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   Olvsrez, Rebecca Lyn
   Oliver, Ahbte                                                                3:17-cv-09995                 Beasley, Alien, Crow, MetlMn. PortIa, Miles, PC
   Otlen, Mary                                                                  3:17-cv-09759                 Beasley. Allen, Crow, Met)Mn, Perils, Utlas, PC
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   Olmitad, Roger for the eatata at Janet Rlegeacker
   Olson, Shall                                                                 3:1 8-cv.00537                Burns Charest U
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   O’Nan, Virginia
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   Orecchie, Levinla
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    Ctelana, Kathleen and Gabriel                                         -




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    Orarn, Laura and RIchard
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    ørmond, Amber
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 Pacheco, Jo-Mn
 Pacheco, Nicole for the estate of Tracy Morgan                     3:17-cv-12720        Miller Firm dC
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 Pcilfi, Rosemerle                                                  3:17-cv-O?23J        Burns Chareet LIP
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 Padilta, Francsco, for the estate of Marta Cnshna Lopez            3:1 ?-cv.i2g42       Paul LIP
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 Paddle. Richard før me estate of Dora Padlile
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  Patatox, Diana
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  Palmer. Ron
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  Palub, Sally
  Palumbo, Belay                                                     3:17-cv-10727        BliZzard Law        -




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  Palumbo, Pamela
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  Paniagua. Anastasia for the estate of Manuela Maria Dtaz
  Pantoja. Priscilla                                                 3:17-cr40020         8.ui.y. Allen, Crow Mernvin. Perils, Miles. PC
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  Papa, Victoria
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  Ppp-Roche, Evelyn
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  Parandian, Soudabh
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  Pare. Michael for the estate of Cynthia Pare
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   Parigher, Pamela
   Park, Rile and James                                              3:17.cv-10299         Robinson Calcagnie, INC
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   Parker, CindI Ann
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   Parker. Claire
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   Parker. Madeline
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   Parker, Tyrono abc Sherry Ivory
   Parker, Wande                                                      3:17-cY-07565        Bums har$ LIP
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   Paris, Anthony br the estate of Nancy Ann Patla
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   Parmenlier, Lawrence
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   Parrish, Mary                                                                     -




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   Parsons, Thurman obo Kathy Jo Parsons
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   Parlen, Billie
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   Paaander MarIlyn
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   Pátemak, Marilyn
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    Patrick, Barbers
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    Patterson Annie
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    Patterson, CecIlia
    PatterSon, Deliata                                                 3:16-ce.OUI$-FLW.LHB0n& Bud& PC
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    Patterson Ronald for the estate of Katherine Patterson
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    Patteriàn, Suzanne
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    Ptiarson, Suzanne
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    Paul Deborah
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    Patton, Audy for Inns Lynelte Jones
    Paul Michael on behalf on the estate of Cola Paul                  3 I?.ov’0936?        The Lsnlerlawkm
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    Payne, Kay
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    Payne Michelle
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    Payne, Sheila
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 PeN. Slannon and Erik                                     —     3:1 7-cv101 11            The Lanler Law Firm
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  Penny, Karen
  Parry, Suzanne                                                  3:17-cy-12513            Johnson Bãckr, PU.C
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  Parry, Trova
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  Peters, Kim                                                     3:17-cv-12480            Johnson Becker, PLLC
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  Paterson, Choryl                                                3:17-cv-O63               Ondedaw CCC
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   Pevraro, James for the estate of Jane Payeraro
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   Ploiffor, Ellen
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   Phalen, Susan and Patrick Phalen, Jr,
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   Phillips, Murcie                                                3:17-cu-10463
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   Phillips, Richard fo Kay Waterhouse
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   Phillips, Sharon
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   Phillips, Valerie
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   riiipit Jonathan for the estate of Jocelyn Pllapil
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   Piment1, Eleanor for the estate of Nancy Tracy
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   Plotner Robed for the estate of Deanna PlaIner
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   PlUmmet. Ethel Marie
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    Pollard, Peggy                                                 317-ce-OO773
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    folly, Helena
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 Presley. Sandra
 Preston, Dianne                                                   3:17.vv.08426          The Canter Law Firm
 Presworsky, Paula                                                 3’l7-cv-08??O          Onderiaw LLC
 Pnevo, Deborah                                                    3:18cv.O1236           Simmons Hanty Conroy
  Primmer, Jeannoita                                               3:11-cv.09647          Onderlaw LLC
  Prince. Mlleneue                                                 3:t8-cv-00563          Johnson Becker, P1.10
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  Prince, Kenya Diana       -




  Prince, MatvaU William                                           3:1BcvCO714             Ness Cencelliers Brenner
  Ptinle, Maryladone                                               317’cv-06766            The Simon Law PC
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  PrItolatd, Donna
  Proctor, Cynn                                                    3:17.cv-09766           Boasloy. Allen, CIOW, Metrivin, Portia. Miles, PC
  Proctor, Joan                                                    3:17-cv-0g373           Burns Chareat CLI’
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  Provonza, Domenic,s for Karen Cannice
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  Prulett, Juanita and Tawana Smith
  PrunlyAntomone and Robert                                         S 11-cv.4)6658         The Simon Law PC
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  Pyoi, Cynthia and Steven
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  Put ski, Jennifer
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  Pugh, Sindy
  Püluki, Michole                                                   3:17-cv.08289          Hausfeld
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  Pulley, Klmbqrly
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  Pullman, Marjorie
  Pwdy, Joseph tot the estate ot Linda Purciy                       3:1?-cv.10371          The Canter Law Firm
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  PuLz, Christine
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  Pybom. Cindy
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  Pyrain, Michale
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   Queries, Cindy
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   Qulgley, Marten
   Quint, Frances                                                    3:17-cv-12309          Don Barrett
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   ONany and Thomas
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   Cuinones Rivera, PrisciLa
   Rabaçjo Linda for the estate of Resin Reese                       3 1 1.cv 12685         Sanders Phillips Grossman CCC
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   Rabasca Linda and Joseph
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   Rabum, Denise and Danny
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   Retina Brenda
   Rackov-Toklch, Nellie                                             3:17-cv-083d5          Beasley, Allen, Crow, Mothvln, Portia, Mites, PC
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   Rackow, Janet
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   Radomacher-Hamiiion, Tracy
     ader Sharon                                                     3 17.’cv 10409         Morlil Law FIrm P1CC           -




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     alney. Mdana
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   Rans, banns
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     ekozy Kelil Bait tot the estate of Pamela Ball
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   Rumba, Patricia
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     amjrez, Càml
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     aniiz Cedlee on bohati of the estate of Robin Anderson
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   Ramlrez, Merle D&eaua
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   Rames, Luisa
   Riii Shirley                                                       3 18.cv4OI 05          Chappd, $mlth 6 Aiden PA
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    Randall, Nicole
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    Randall, Sharon
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    Randall, William for Mary Randall       -—




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    Ranzle, Dalores
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    Repose, Nicole
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    Rashba, Paul for the estate of Linda Sarah Ftashta
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   awl Detoreh                                                               3 7cv.D9161                     OndatIawLLC
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   e, Jaion for !tw* etale of Llzz Marie Phlppi                              317.cvO5174                     Lsvln Sknes UP
   as. Mary                                                                  3:17-cv-1 1291                  Simmons Hanly Conroy
   ende, Vlclona                                                             3f?-c*02265                     Johnson Becker, Pl.IC      -




 Regan, Paul bc the aetato of Rae Jean Reagan                                3:17cv-i1477                    Polls COW Firm
   ebstock. Tern                                                             3:17.cv.lOOlg                   B.uIey, Allen, Crow, M•thvln, Perils, Miles, PC
   ecek, Marilyn and Darryl R.ccok. Sr.                                      3:17-cv.0862g                   The CenSor L*w Firm
 Reddick Debca                                                               3 17.cv 12234                   Bqesley Allen, Crow Methvln Portia Miles PC
   eddix, Shorn                                                              i?.cv-1o4a1                     Beasley, Allen. Crow, Msthvln, Portl, Miles. PC
   edman, Kathleen                                                           3:1?.cv-12340                   Don BatrK
   admond, Ronald for the urtote f Bamara Reamond                            3:17.cv-1O1Th                   Ashcraft & Geret UP
   edondo Julia end Jw Marmot                                                3 17’v 0653$                    Baum Hqdlund Arislel & Goldman PC
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   oed, Elfa Rosakia                                                         317.cv’04$24                     Lán9dOA & Emlsan
   ecU._Karen                                                                 317-cv-0752                     Golomb & Honick PC
   eod,.Lo                                                                   3 7.cy..O9024                    Benley Allen Crow Methvki Portia Mba PC
 Ravos. Susan                                                                 3:17-cv12339                    Boastey, Allen, Crow, Methein, Paths. Miles. PC
 Roilslock, Richard for the es(aluofSaliyRcuiiateck                           3:17.cv.10787                   Aaha*tt 8 GerelLLP
 Redly, Kathleen and John                                                     3:1 7.cv10085                   The Linler Law Firm
 Reinhart, Mlcnut for tie eslato of Connie Relnhvt                            3:1Y.cu-09625                   Golemb & Honick PC
  Reinhold, Marilyn                                                           3:17-cv-ô8725                   Fleming. Nolen a Jes LIP
 Reison. Joycatyn                                                             3:17.cv-09785                   Beule, Allen. Crow, Melhvln, Portia, Miles, PC      -




  Rammer. Linda                                                               3:17-cv.08103                   Beulsy.P,en, Crow, MelhvIn.Porlls. Miles, PC
 Remmereld, Deborah ane Paul Martin Remmoreld                                 3:1 ?-c,i.05014                 Levin Sines UP
  Riicsr, Ohs for the estate of Dorothy Rencher                               3:17.v-10174                    Ventura Law
  Rendleman, Micholle                                                         3:17-cv-0830*                   Beasley, Mien, Crow, Methvin, Pots, Miles, PC           —




  Renessu, Brown                                                              3:1?-cv-10268                   Beasley, Allen, Crow, Metiwin, Portia, Miles, PC
  Rent’, Jerry Susan                                                          3:17’cv’02$6$                   Motay Rica I.LC
  Resuroccion, Baton Romeo                                                    3:1 7.ev- 12587                 Sanders Phillips Grossman CCC
  Router, Betty                                                               3:17-cv.08164                   Ondedawl.LC                       --




  Revolt, Sheila                                                               &17-cv.09344                   Beasley, Allen, Crow, Methvln, Porils, Miles. PC
  RevIs, Anita                                                                 3:17cv.D44                     ErlronrnentaUllgalionGroitp            -




  ReyMoUna, Beds                                                               3:17.cv.0U334                  Beasley, Allen, Crow, Metilvin. Portia, Miles, PC
  Reynolds, Donna and Ellis Reynolds                                           3;11-cvl06Th                   Kllhe & Specter PC
  Reynolds. Frederick tot the estate of Charlotte Reynolds                     3:i7-cv-07594                  Potts Law Firm
  Reynolds, Patncls                                                            31?’cv.11621                   Bianar Chase
  Reynolds, Re9Jna                                                             3:l’l.cv.06093                  The Simon Law PG
    eynolds Robbl• and Pelor                                                   3 17-evOGQ2                    Th Lanler Law Firm
  Rhoeda,Pam&aandGuy                                                           3:17cv-11235                    TheShnanlawPC
  Rice, Channel                                                                3:17-c’r’05?1$                 The Sinon Law PC
  Rice. Mlchell                                                                3:1 7cv-10652                   Ondàlàw CCC
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  Richard, Gwarsdolyn and Timothy                                              318cv00310                      Polls Law Firm
  Richards, Carolyn                                                            3:17.GV.13840                   GndenlawCLC
  Richards. Connie Wilson                                                      3:17-cv-10830                   Sanders Phillips Grossman CCC
  Richardson, Cortisha end Kamart Fair                                         3:17.cv.11366                   Oclemb 8 Honldk PC
  Richardson, Deborah                                                          3:17-cv-12896                   McneIl Law Ftm P1CC
  Richardson, lIoness                                                          3:17’cv4173$                    The Dugan Law Firm PUt
  Richardson, Sonys                                                             3:1 1-cv-12948                 Paul LIP
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   Richardson, VeronidS
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   Richardson, Victoria
    lchburg, Kimberly                                                           3:1?”cv.06694                  The Simon Law PC
      chmond, Calosha                       —
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      ch.Wtiiams, Ada                                                           3:16.cv.05489                  Richard R, Barrett P1CC
     Fcketti, Connie                                                            3:1T’cv.12682                  Beasley. Mien, Crow., Metheki, Portia, Miles, PC
   Ricketis, Kathleen                                                           3:l8.cv-00232                  Burns Chirest LIP
     icks, Lloyd for iEis estate of Coboen Ricks                                3:17.cv-06302                  Oñdár, Shaken, Oleaty & Peterson
      cks. Martha                                                               3:17.cv-05622                  Wo*ler Wallace LIP

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  Rillal, Christina                                                      -     3:1 Tcv-10560                     Ondenlew CCC
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  Rimondi, Ricardo and P;ar                                                    MOL-L-02912       -               The Canter Law Firm
  Ringle, Pautcia                                                              3:17cv’1113S                      GoHanber Law PUt
  Rink.. Murk for lhO estate of Etn Beth Benson                                3:17.cv.03153                     Motley Rice CCC
  Rico, Charles for the ostale of Debra Rios                         -         3:i?.Cv10i3                       Gpldenberg Law PCLC
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  RHchle, Judy A. Terry Leo, Todd N,, Jason M. and Janolto Story               3:17-cv4Sflf                      Baum HedkmdMstel 8 Goldman PC
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 Roberts. Jane                                                            3:17-11410                 Ondartaw LLC
 Roberts. Usa Mario                                                       3:1 1-cv-O32B              Beastay. Men. Crow4 Metiwin, Po(ils, Miles. PC
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 Roberts, Michete Leo                                                     3:17-cv-08351              Oncietlaw dC
 Roberts. Stacy Sonn                                                      3:i$cy.O0?S1               Beestey, Allen, Crow, Methyin, Poflla, Miles, PC       -




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 Robertson, Ruthta                                                         1:17.cv-1291e             VenlurS Law
 Robinson, Alice                                                          3:17-cv-10447              Galomb & Honick PC
 Robinson, Carla                                                          3:i?.cv.09820              The Canter Law Firm
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 Robinson, Carol
 Robinson, Charlene                                                        3:i7-er-0G762             Th Sbeon Law PC
 Robinson, Donald tot the esiale at Lannie Robinson                        3:17-cv’09524             Bums Charest LIP
 Robinson, Glaly5                                                          317.cv.127O2               Morel Law Firm PLIC
  Robinson, Karen for the estate of Alice Fayn Evans                       3:17-cv-10572             The Canter taw Firm          -




  Robinson. Ronald tor the estate oil Joan Robinson                        3:llcv-1113e              Goldenberg Law P1CC
  Robinson, Valerie                                                        3:17-cv.106?7              Burns Caeresl LIP
  Robins, Angel for the estate oil Gladys Sanatwla; Judith Robins; Mera
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  Rabies; Jose Rabies
    odgers, Anthony for Iha estate of Jul Ronea Klein                     3:lacvl)0436               Morgan & Morgan Morgan S Morgan Compies Uligatlon Group
    odrigue, Claudia                                                      3:1Y’cv-10014              Boasley, Allen, Crow Methvrn. PortIa, Miles, PC
    odrtguez Cotta, Maria                                                 3;tl.cv-126g4              Senders Ph)lkpa Orossmen LIC
    ooriguez Gloria Aponte for the estate of Refuglo Fajarda              3,1 ?-sv.05371             Berstem Liebhwd LIP
    odr’iguer, Josepn for the estate at Key Lorraine Johnston             3:i7-cv-0055g              The Lanler Law Firm              -




    qdrguez, kathleen                                                     3:17-cv.09143              Beeslay, Men, Crow, Moihvln. Podts. Miles, PC
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    odrlguez-Diaz, Onset and Pedro Ibarca
    OL Nancy                                                              3:17’cv’08415              Onderla’w LLC
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    oebuck. Mary
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  Rogers, Annie
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    ogers, Camille
    ogara, Caste ton the estate of Olga Burke                             3:iB’cv’00054              Bums C1er.sI UP
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    ogers, Mary Ann
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     oman Ermeilnda aDo Awek Lens
     omen, Evelyn end Christopher                                         3f7-cv-10327               Skikos, Crawford, SkIkos 6 Joseph
   Roman, Gl*dys                                                           317.cv’0$375          -   Besitey, Allen, Cqw, Mathvia, POrtia, Miles, PC
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   Romoro, Evelyn
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   Romero. Yvette
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   Roney, Lisa and Timothy
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   Roohan, Janice                                                    —



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  [Ropur, Veronica
  Rosales Elsa                                                             3;17.cv.100288             The tinier Law Firm
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  I,-corio Caussade, Angøt for the estate ot Rita Ceussede Rosonia                                    Ondarluw tIC
  osato, Frances                                                           3:17.ov-09563                                                          --




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  LROSO,  Damon fur the estate of Brenda Rose
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    (osanb.,rkur, Kimberly                                            —    3:1T-cv-05482              Boasley. Allen, Crow. Melhvin, Portia, Miles, PC
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   Ross, Donna and Dean                                                    3:17-cv-0B361              Ventura Law
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   Ross. Use
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   Ross, Sherry
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   Ross. Wanda
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   Rosser Brenda
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   Roaset, Vicki
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   Root, Michael aba Phylila Rosi
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   Roszak, Rose Mane
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    Rowland, Ken Dawn
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    Rowsey, Dorothy
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   Bucker. Hannah
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   Bucker, Mary
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   Ruinick, Rhonda
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   Rue, Rosanne
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       wsk Paul                                                           317cv.13O13                  MOrale LRw Rrm PLLC
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 atorno. Barbara                                                          3:17.cv.0875L                Ondss*w UC
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  tb, Travis for the estate of Janet Smylh
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  ajpotor, Steven abe Suwi Wlden4SbpoLer                                  3:i?.cv-Q42e                 Baasley.Akn, CtQw, MaHwl, Pws. MIles, PC
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  annuals. Dakota for Sabrlna Samuel                                       3:17-cv-12U4                Gaza 6 Honnokl LLC
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   anchez, Adetn
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   anders, Margarotto
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   artdors, Ruth
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 Sanders, Sham
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   ante, Scott for the estate of Kinibedy Ann ErnersonSanta
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   anUago. Heidi
  Santiago, Lady                                                           3:1 7-cv.0Th61               The Onder Law Firm
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  Sapp, Deidrue
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  Sapper. Paula Ann
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  Sarantopoiitos, Charlotte
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    arver, Dtna and Michael
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    aunders, Geraldine (on the estate ot Cheryl Fleming
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    aundors. Lloyd for the estate of Seundre Fayc Saunders
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  Satsman, Leslie end Date
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  Suve, April
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  Savage, Frances
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  Savage, Lauren
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    awyar, Theresa
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  Sawyor-DeAquino. Rhonda                                             -




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    aye_gil. Cheryl                                                                            -




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  Scagilorie, John and Linda MuhibacJi
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  Schalfur, Lyndu
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  Schaflo, Joan
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  Schapparte Margie end Mdtk                                                                             Burns Charosl LLP
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   Scheinleld. Harry abe Jane Schesnletd
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   Schenker, Pamela
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   Scherer, Sue
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   Sehiossur. William tar Inc estate of Lice Schiossan
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   Schmandt, Laurie
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   Schmtdl. Kathy
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   SchmItt Allison                                                                                        NapeS Shkotntk P1_IC
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   Schmucksr, Molanla
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   Schnelte Susan
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   Schnbar, Miriam and Charles        -



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   Schock, Tulaha                                                                                         Don Barrett
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 Schroar, Sharon                                                             3J 6-cvOO294                        Potts Law Fm
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    colt, Shihndu                                                             3f7cv-11283                        Ashc’&ILGoreILLP
    colt, Tika individually end for the estate of Slephanio Ctoss             3:1Z.cv.060?O                       Pousl Braslow I Mtifrod
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   e.igo, Patricia                                                            317-cv-09062                        Beasley, Allen, Crow, Mettlvlñ, Penis, Mites. PC
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   amen, Jerome obo Barbare Semen
   oman, Jr., Frank abe Joan Somari                                            3:17.cv08847                        Bea*y, Allen, Crow, Mothvln, Paris, Miles, PC
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    ombter.UnOr3(oc trio estate of Susan Sombler
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    onorote, Christine Anne
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    enter, Debàrah Anne                                                  -




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    ovuranco, Karnle for irii estate of Karen Kock
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  Soyorina, Monica and John
  SeyrnourYokita                                                               317-cv41329               -         HartMcLauohlinIEldnldg,
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  Shout, Patrick aba Mario Shauf
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  Shay. Dons tr the estate of Darlene Alberton                                                   -




  Shea, Kotoy                                                                   3:17.cv.12?90                       The LanlerLawFtrm
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     hutton. Kathy                                                              3z17’v-0S76i                        Ond*liw ICC
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     hotton, Laura Jo
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     helton, Regina
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   Shepherd Janet                                                   --




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     heppatd, Katherine and Ketton
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   Sherlock, Tine
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   Shiekis, Willie Mime                                                                                             The Simon Law PC
     hields.Mantoy, Maria Deem                                                   3:17-cv06684
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   ShhiIoh, Halima                                                                                                  Beads1, Allan, Crow, Mathvtn, Ports. Miles. PC
     hipley, Jennifer                                                            3:17-cv-10393
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     hipy, Sherry
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      sort, Gaore for Deborah Short
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   Short, Mary Cottoen         -
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  hur. Nancy                                                         317-cv-10665           Goornb 8 Hotck PC
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   dos, Parnola                                                      3:17-cv-10357          B*asIiy Men, CrowS Usthvin, PotU, MHes PC
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  leer. Carol                                                        3:1?.cv.O?020          Don Barrett
  trot, William obo Janice Sliver                       —X           3:17vv-08578           Beaslay. Akn. Crow, Methvin, Portia, Mba. PC
  manakia, Ctydoan                                                   3:17-cv-10162          Gobrnb Honick PC
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  onna Simeono                                                       3:7 7.cvQ5872              Rose Feller Cuey LLP
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         Sharon                                                      3:1-cv.12O?$               MoreW Law Firm P1CC
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   jmoneu          and Laura Pratt                                   3:18.cv-00805              Ron Feller Casey LIP
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  $trikovoc, Nancy
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  Shnland, Makiko end Joshua                                         3:l7-cv-05137               Ron Feller Casey LIP
  Sloan. Edna                                                        3:17.cv-OSZOQ               Baasley. Men, Crow, Muthvln, Portia, Miles, PC
  Sloway. Katharine                                                  3:17.cvOB712                Beeslay,Men, Crow, Mathvln, Portia, Miles, PC
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   Smilh, Chartes 0*0 Marvot Smith                                    3:17-cy-72235              Beasl.y, Allen, Crow, Muthvin, Penis, Miles. PC
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   Smith. Deborah                                                     3:17-cv-02352               McGrath Law Firm PA                      -




   Smith Debra                                                        3 17-cv-08722               Boasisy Allan CtowMethvln Portia MittS PC
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     mith, Evelyn
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   mith, Janot for the estate of Wikna Smith                           3:17-cv.12608
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   miii. Judith
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  Smith, Judy Jane
   mith, Kathleen                                                      3:17-cv.09846              The Cattier Law Firm
   miii, Kathryn                                                       3:17.cv-O7’S16             AshCrsfl & GànI LIP
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   mith, Kathryn and Owayne Rsndell SmIth
   mitn, Kathy                                                         3i7-c13541                 OndorinwlLC
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   mlii, Lynn and Bruce Smith
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   rnHb Sbamn                                                          3i7-cv.0872e           Beay Akn, Cmw, Methvn,Poriin Ms. PC
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    milti, Wendy for (ho estate ci Ovorta Smith                        3:17cv-12951           Paul LIP
    mith, Weasm on bha)t on the estate of Cheri Ronnie-Smith           317-çv.Oê2Q            Pikar Weichman LI.P
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    mlth-Myers Deanna                                                  3        v-O79         The Simon Law PC
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    nyder Sharon and Robert
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  Sobocinaki, Patrice                                                   3:18-cu-Of 332         Johnson LawGroup
  Soft, David Frank (or the estate of Elinora Louise Ryan               3:1Z-cv.’OOSOS         McGowan, Hood 6. Feklor ICC
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  Sets, Mona                                                            3:17-cv40250           Sashay, Allen. Crow, Methvln, Portia, M11e5. PC
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  Solomon, Susan
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  Sonniur. ltekssa                                                       3’)7-cv-12009         Sandur Phelps Orc.samønLl.C
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     orensert. Stephanie
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  Sorreks, Cynthia
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   Soä Sarah obo Mona Granidos
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   Soullos. kgltios, (or the estate of Deborah Seutios
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   Southard, Theresa
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     ouse, Sara and Herbert
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   Sowell. Jacob for lh estate ci Delorts Sowet
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     ciaar, James coo Ann Spas,
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   Spetnun, Kathy                                                         3:$7.cvlklSO          Bêasiey, Ailan Crow, Metiwin, Portia, Miles, PC
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       ence, Deborah
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     ocacer, Patricia and Michael
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     punter, Venus
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     pencer, VIctoria
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       egny, Edwatd
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      piogol. Dale (or the estate of Pameta Wlrhoi.Splegei
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      nineS Joanne                                                 -




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      pitz, Sheila and Robert
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      proch, Diana
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       rouse, James obo Merlena Sprouts
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    Squires, Dawn
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       afford, Timothy lot the estate of Nancy Jean Statrord
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       airteker, Thomas her the estate of Rebecca Stalknakur
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       amps, Qar4 for the estate ot Mary Stamps                                                  Bessley, Alan. Crow. Me{hvrn. PerIls, Miles, PC
       amps, Rose                                                          3:1 7-cv-10478
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       ;ney, Gtina                                                                               Dan Barrett
       ansbwy. Karen                                                        3:17-tv-f 1496
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     Stanuia James for the estate of Cathtyn Sianula
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    Stapleton, Kisill on behalf of Anile Paradise
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    eon, Nko for thG este of Pamela Steen                              3;17.cv.7645                The Laner Luw Fkm
    of,e PaWcb                                                         3 174vOO78                  Qniaw LLC
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    enbrnh. Brenda                                                     3i?-cv-o815e                The LaniLSW Firm
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   tovens, Usa and Wieam                                                3:SBcv-008O1               Rosa Feller Casey LIP
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   Iowan, Barbara Jean                                                 3:I7cv-C7116                Bums Charest LiP
    owart Candae and Lloyd                                              3 18’.cv-OOTIl             Potts Law Firm
 Stewart, Darlene                                                      3:t7av-12782                Don Barrett
 Stewart, Deborah                                                       17-cv072B?                 Bums Charesl LIP
 Stewart, Julio                                                         3:f?-cv.0986?      -       Beaslay, Allen, Crow. Methvln Portia, Mile: PC
 Stowtrn Susan                                                          31?cv *ooae                          Allen Crow Melhvki Portia Muse PC
 Stewart, Thomas for the estate of Sarah Stewart                        3;17-cv-109B3               Bums Charesl LiP
     Idharn. Róbecca and Clayton                                        3:17.cv’.0S473              K*te* Specter PC
      ltwagon, Christina and Jason                                      31 7-cv-05307               Ron Feller Casey LIP
     tnntt. Sharron tar the estate of Clara Dean StinneIl               3 l7-cv1$37                 Ron Fsbr Casey LIP
     ockton, Shannon                                                    i7-cv-10183                 BoaMoy, Men, Crow, MeWvin, Portis. Miles, PC
     ocklon. Stephant                                                   3:18.cv.O0678               Potts Law Firm
    bohr, Jukea tar the estate of Joanne Stoehr                         3:17•cv.09531  —            the Center Law Firm
     one Belly                                                          3iB’cv-O0t12                Chapel Smith I Arden PA
  S one, Denise                                                         3;17-cv0B6O                 Hausield
     aner. Jenny                                                        3:17cv.oBØBg                Beailey. Allen, Crow, Uethvin PontI. Miles, PC
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  S oil, Donna and Colesto Martin                                       3:17-cv-09483               Kitne I Specter PC
    tavor Casey                                                         31’T.cv.12471               Simmons Manly Conroy
    lowers, Anita                                                       3:t7.cv4O?33                Gotdenherp Law PLIC
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  Strain, Gladys                                                        3:1?-cv-06663               BeaMey, Allen, Crow, Metflvrn. Portia, Miles, PC
     tasllborg Harold for the estate ol Dorothy Strassberp               3 1?.cv 07880              Slack I Davis LIP
    trooiCarolyn                                                         3;17’cv.08262              Hausteld
    tretj, Melissa                                                       3 17r’01728                Besløy Allen Crow MIhv1n Portia Mass PC
    trtckland, Shirley                                                   31 7-cv08324               The Lanler Law Firm
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    from, Lynn                                                           3:17’cv-11056              The Simon LaW PC
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      tout, Sarah aba Kecte Laguotle Stroud                              3:17-cvf0216                Beaslay Men, Ctow, Methvln, Portia, Miles. PC
    fraud tresa end Randy Stroud                                         &17’cv 10811               The Lanlet Law Firm
      uarl, Anna                                                         3:f’.cv-13462               Bessley, Men, Crow, Mothvln, Porli. Miles. PC
      uarl, Connie                                                       317.cv-10603                Levin Sknes LIP
      uarl, III                                                          3:17.cv-C3351               Burns Charest LIP
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     ucliomat, Mlchaal as rep of the estate of Mary Suchomel             3:17.cv-07033               Onder Shelton, O’leary 8 Petersen
      uilvnh, Lecintia and Gary                                —          3:17’cv.09713              kline I Spaoter PC
   Sullivan, Lacinda and Gary                                             3:17-cv-O1?f 3             Golomb I Honick PC
      ulivan, Lorelta                                                     3:1Bcv.00568               Johnsoá Bcker, PI.LC
      uhilvan, William aba y Sullivan                                     3:17.cv-10812              Beastay, Men, Craw, Mathvln, PerIls, Miles, PC
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      umnor, Patricta                                                     3:17.cv.08142              AnaMopoub Law Firm
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 Taggart, Dora and Jack                                                    3:1 6-cv0Q427       Potts Law Fttm
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 Tannenbaum. Lrnda and Howard                                              317-cv.13429        Martm 6 Sa*zmsn U.P
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 Tapp, Debra                                                               3:17-cv0V265        Beuley, Alien, Crow, Methvln, Perth, Miles, PC
 Taranto. Marion                                                           3:ly-cv.09258       Bushy, Alien, Cmw,Möthvki. Portia. Miles. PC
 renew. Ertko                                                               3: )8.cv.DO9T1      NapeS Shkolnlk PLLC
        Lola                                                               3:17cv,o7e26         Don Barrett
 Tansky, hone and WiSlam                                                    3:1S-cv-00449       Polls Law Firm
  Tate, Veronica                                                            3:17.cv.1082       Ashaaft & Gore) LLP
  Taubig, Patricia Ann by Kim SteIn                                         3:1 ?.cv..10945     Cates Mahoney tiC
  Taucher Ronald obo Linda Teucher                                          3 t?.cv 10104       Baas)ey Men Crow Methvln PerIls Miles, PC
  tauzln. Anita                                                             3:1 7cv-12612       Sanders PNGps Grossman LLC
  Tavender. Shirley                                                         3:17-cv’08fl3       Beley, Ali*n, Crow, Methvfn, PerIls. Miles. PC
  Tavera.Yormary                                                            3:17.cv-122?2       Don Barrett
  Textor Mary Jane ond Paul                                                 3 17.cv à354        Rhotnçold Gluttrm Ruffo 6 Plotkrn LIP
  Ta4oc, Amber                                                              3:17.cv-08695       Goldenbarg Law PI.LC
  Taylor, Amber tot the estate at Rita Luye                                 3:1?.cv.O1P,4       Polls Law Firm
  Taylor. Anastasia                                                         3:1 7cvQ9?31        Onderlaw LLC
  Taylor. Connie for Vie asIde at Norma Brook                               3:IT.cv.12747       Girardi Kaise
  Taylor. Diane                                                              31?-cv40853        Ondortaw CLC
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  Taylor, Holly                                                              3: l7-cv.12013     Sanders PN$ps Grossman LLC
  Taylor. Jenmter                                                            3:i?-cv.10544      Tha i.anharLsw Firm
  TyIar tot the astute of Rojano Ducrol                                      3:17-cv10765       Bums Charoal LIP
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  T!ylor, Melissa                                                                               Simmons Manly Conroy
  Toague, Kathy                                                              3:17.cv1 1286
  Tengberg, KJm Lea as personal reptosentatwe of the estate ot Jody Lynn
  Tg_-                                                                      3:17cv.08380        Ventura Law
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  Tenhot, Carrion
  Tenhouten Shorn                                                           3 17-ce 10631       Aahctaft a Carol tIP
  Tarry, Shawna and Glen                                                    3lllcv.00587        Potts Law Firm
               Teresa                                                       3:17.ce-OB710       Bessley, Men, Crow, Metiwin, Portia. Milo, PC
  Tossum, Denise                                                            3:l7cv0$73O         Rushy, Alien, Crow, Melhvtn, Penis. Miles, PC
   hat, David for the estate of Susan Palrna Thai                           3:18.cv-O056        Potti Law Firm
   harp. V,vitm Ann,                                                        3:17-cv-09038       Beasley. Alien. Crow, Methvhn. Portia. Miles. PC
   hayorEre1ne                                                              3 17-cv.09812       Beasley Men, Crow MettIVin Portia Milee, PC
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 tgpen, Doyle                                                                                   Johnson t.avv Group
 I higpan. Regorta Ann                                                      3:1?.cv-130g1
   hots, Ranrw                                                              3:lZ-cv-10737       Blizzard Law
  Thomas Joss,a for the estate of Brenda Hurtle Thomu                       3 17-ce 12551       Snders Phillips Grossman tIC           —




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   homes. Joann
   honial, KCthryn                                                  —       3;1B..cv’00237      Bums Chari tIP
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   homes, Lynn
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                                                                            3:17-cv.10340       The Lanlen Law Firm
  Thomas. Paul for the estate of Robin Thomas
                                                                            3:18-cv-OO764       LvlnStmas lIP
   homes. Tracy                           -
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   homason, Vtrglnla Marie                                                   3:l7-cv-06020      McGowan. Hood 8 Folder tIC
   hompson .k.. Walter and Crystal and Manim and Wallet Sr                   3:15-cv’08722       Bums Charesl LLP
                                                                             3:17-cv-09033      Seesley, Men, Crow. Metiwin. Ponils, Miles. PC
   hompson, Dabble Kay
   hompaon. Deborah Verdale                                                  3:17-cv-01564       Montroso Law U
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   hompson. Dianne
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   hompson. Geraldine
                                                                             3:17cv-12361        The Simon Law PC
   hompson, James ton Janice Thompson-Lott
   hompeon Joann                                                             3 17-cy49252        Seasley Men Crow Muthvtn PorUsMIles PC
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   hornpson. Karen
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   hompn. Laaaa and David
    hompeon, Myra tar the estate of Vema Mae Thompson                        3:I7-cv-09629       Golonnb & Hontck PC
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 Tlor DaneUe for the astute of Conoetla Dorsey                            317-cvf 0165                         Gpbmb & Hanlcfc PC
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 Tinoco. Ramona                                                           3:i?-cv-11149                        GokleñberQ LawPLLC
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 Tobfri. EitzabaUi Ann                                                    317-cv.09023                         8.asby, PJten, Crow, Methvln, Porils. Mite.. PC
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 Todd Chraslne                                                            3 1?-cv 10773                        Beas)ey Allen, Crow Metftvln Perils Mites PC
 Todd Emma Jean                                                           317 cv’O?04                          Sums Chutest UP
 Todecheene. Carol                                                        3:17-cv..12832                       iBr.s)ow& M*rod
 Toiten, Sandra, Susan Smith. Ralph Smith and Janet Posey tot the estate      -




 of Sarah Murphy                                                         3 17.cv 11647                         Natrteon Devie Stealiloy Morrkson Jonas PC
 TdcØ. Sophie                                                            31S’cvO0322                           Ondatlaw C.LC
 Tokver, Michelle                                                        317-ov4)6733                          The Skeen Law PC
 Tollari, Patricia and Aol                     -
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 Toalvor, Ruthie eaIaw and Paul Tolliver. CaiUy N1004o Cotfman. Sierra
 Cheyenne Toillver. end Denime Alexus Toillvor                           317-cvO276                            Steve Merfltt
 Thrnnl, Amy                                                             3:1$.cv-0056$                         Johnson Socket. PLCC
 Tompkins. Bonnie obo Dalores Wt.se                                      317-c*0B41$                           Se.st.y, Men, Crow, Methm, Portia, Mba, PC
 Tompkins, Virginia                                                      3:17-cv.O733                          Ondarlaw tiC
 Torn. Sandy                                                             3i6.cv.01201                          Simmons Hanly Coorpy
 Tories, Nivia                                                           3;17-cy-06713                         Thoimon tw PC               -




 Tokln, Kathy Lee                                                        3:17’cv-12237                         Besahy, Men. Crow. MaihvhPothI, Miles, PC
 Totos, Karen                                                            3:17’cv-05488                         Beasley, Allen, Crow, Methvin. Patti.. Miles. PC
    ownsnn, Nathan obo Lenom Townsen                                     317.cv40583                           Busky, Men, Crow, Methvtn. Perils, Mites, PC
 Trapini. Sylvia                                                         317.4f 1409                           OndertawLCC
 TreadweI Unite                                                          3.1S’cv’O3348D                        HWMcLaughiln & Eiddde
 Treadwall, Linda                                                        3:16-cv-09495                         Hart UoLauhhn & Eldridçe
 Tremby, Jane                                                            318.cv.00570                          Johnson Sacker, Pt.LC
  Trammel, Timothy aba Deborah Bay                                -      317-cv-O52                            Bcas1e. Man. Crow. Methino. Patti.. Mites, PC
  Trenl. Sherry                                                          i 7’cv45Th3                           Qnedsw U.C
  Tribbie, Gloria                                                        3:13-cv-01310                         Johnson Law Group
  Instant. Phliomena Sheny                                               317.cv.1.0492                         Beasley. Man, Crow, MeUwin, Portia, Mites, PC
  Trogdon, Barbara                                                       3:17.cv.06687                         Beasley, Men, Crow, Mathvin, Podia, Mites, PC
  Troop krIsten                                                          3 17’.cv 1QB7             —           GOlerabS Honick PC         -




    rout, Amenda                                                              7’.cv-133 ii                      Robinson Calcagnie, INC
  Trover Carolyn Sue                                                      3;17.cv.09021                         B.asley, Allen, Crow Uathvin, Portia, Miles. PC
  Trudeau, Judith                                                     -   3:17.cv-D9OO                          Beasier, Abe, Crow, Methyin, Patti., MItes PC
  Trujr$, Heather                                                     -   3:17.cv4B$G7                              11eV Man, Crow. M.Uwln, Patti., Mites, PC
  Trupia, Lillian                                                         3:1 Z-cv. 12456                       Senders Phillips Grossman CCC
  Thckar Catollne                                                         3 1 7235                              Sesaby n, Crow Metiwki Perils Mites PC
  Tucker, Crystal far the estate of Judith Johnson                        3:1 7-cv-109?Q                        Ashcteft & Gate) liP
  TuckerScott, Dorothy                                                    3:17-cv.13654            -            Onderlitw ICC
  Tucker-Walters, Andra                                                   3:1 7-cv-07863   -                    Ross Feller Casey LIP
   Turk. lorraine                                                         3 17-cv-08210                         The Larder Law Firm
  Turner. Beknde                                                          3:1 7-cv-06P2                         Don Barrett
  Turner, Karen                                                           3:18-cv41215                 -        $eaaiay,Man,Cto%Me(hvin, Petit., Mites, PC
   Turner. Margie end Hoble Turner                                        ole        -                          nla
  Turner. Michelle                                                        3:17-cv•03182                         Ross f,$i’ Casey tiP
     ttte, Barbara                                                        3:17-cv-f 2321       -           -    Don Barrett
   Tytee Cher)4 Ann                                                       3 17.cv.02008            —            Johnson Becker P1CC
   Lime, Madrgoi                                                          3:1B-cv-00571                         Johnson Becker, P1CC
   Urnilout, lorry rot me estate of Ponny Umilost                         317.cv.12745                          GUard) ICeasa
   Upchurch Michelin                                                      3 17-cv 01851                         Onclor Shelton Oleary a Peterson
   UyMlchutta                                                             3 17-cv42451                          Sandor Pltl*p. Grossman ICC
   Uribe. Sharyn (or Danita Lube                                          3:1 7-cv-13630                        Don Barrett
   Usher, Debra and Raymond                                               3m18-cv-00037                         PoilsL.w Firm
    Jyomura, Stove aba Sonhur Yaun Uyomura                                3:1 7-cv-10208                        Beasley. Allen, Crow. Methvin. Portii, Miles. PC
   Vaccaro Pa                                                             3 )7-cv-Q$Q48                         Ashctaft 5 Get) LIP
   Val5bcn. irauI tar lhr, estate of Edna Vaisben                         318.cv.00759                          Potts Law Firm
   Vikiiz, 1g,iaclO, foi toe estate of Maria Cuisa Canlu                  3:11’.cV-l 1q01                       PaUs Law Pinn
   VetenUna, Juanita                                                       3:17-cv-OT?74                        Onder, Shelton, Oloarya Petotson
   Valentine Shrttuy                                                      3 17-cv 1Q488                         Baaiey Allen Craw Methvln Perils Miles PC
   Vullan, Ana and Vito                                                    3:17-cv-07080                        The Simon Law PC
   Vure                                                                    3:17’cv-0644                         Potts Law Firm
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          arvo,t,Sh                                                        3:17-cy.03085                        Johnson Becker, P1CC
   Van t)oren, Contanca                                                    3:17-cv-12367                        Onderlaw 1CC
   Van HOulari Emily                                                       3 17-cv 13555                        Ondettew ICC
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   Vandat, Deanna                                                          317’ev.09180                          OndertawU.C
   Vandanbroeke. Ashley                                                    3:18.cv.006?2                         Johnson Becker, P1CC
   Venderachnaf. Evelyn                                                    317-ct.12653                          Don Btril
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 Vanocunen. Exnlty oboCheryje Elizabeth Bacftoki                              3I7cv-08579                                Beasley, Allan, Crow, Mathvln, Patfil, MUon. PC
 Vannoy. Sandra                                                               317.cv-07974                               Wilson Law PA
 VrinNurdon Laurie                                                            3 1?cv 13015                               Boasley AUon Crow MeUwin Pw1la Mlb PC
 Vanovar, Totreaa                                                                 3:17.cv.06791                          The Simon Law PC
 VanPeQe. Debra                                                                   3:17-cv•09722                          B.asfey, Aen, Crow, Mthiif, Portis, MUes, PC
 Vargo, Dawn                                                                      3:17-cv-13857                          Ondarlaw tIC        -




 Varian-WilUame, Both                                                             3:1?cv-067 12                          The Simon Law PC
 Varnirdo, Jr., Otis for the estate of Carolyn Varnado   -                        3’17-c’-12614                          Sanders PMbp Grossman tIC
 Varnauskas, The MarIo                                                            3:1 ?.cv.08365                         Beasley Men Crow, Methvn, Perils, Miles. PC
 Vamer, Kathy                                                                     3:l7-cv-12695                          Morei Law Firm PLLC
 Varvil, Michael oDe Constance yarn                                               3:l7cv-OB563                           Beasley. Man. CrowS Mefhvrn, Perils, Miles, PC
 Vasguez, Deborah                                                                 3:17cv.O69?5               —           The Simon Law PC             -




 fqez Enikta                                                                      3:lS.cv.01265                          Simmons Hanly Conroy
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 Vasquez. Soalda Mercado                                                          3:l7.cv.12570       Sanders Phelps Grossman LLC
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 Veal, Samllya                                                                    31?-cvO9232         Beasley, Men, Crow. Mathvln, Portia, Miles. PC                               --




 Vega, Fellcla                                                                    3:17.cy’.0Q17       Baasia, Alien. Crow, Memvln. Perils, Miles. PC                           -




 Vega, Lorraine                                                                   3:17.cv-10711       Walton talken Foster CCC
 Vegas, Uborli for the estate of Pau Bohnon                                       3:1 7-cv-10130      The Lanler Law Firm
 Vera. Tonya                                                                      3:1cv-OOS76         Napoli ShlwlnIk P1CC
 Vordin, Dorima                                                                   3:17cv.C798O        Mhcmft & GrILLP
 Vermilion. Mora                                                                  3’IB-cv’00284       Hauslold
 Vossels, May                                                                     3:?’ov-122          MoreS LawFlrm PLIC
 Vice. Brenau                                                                     3:1 7-cv-09016      Beaslay, Allen, Craw, Mathvh, Portia. Miles. PC
 Vlckonrlatt, Carolyn                                                             llcv.054 1%         Ondorlew tIC
 VIctory, Tabitha                                                                 3:17-cv-10909       Ashcrah & Gore) LLP
 Viani, Jacky                                                                     3:17.cv-05?O?       Motley Rica CCC
 Viadila Il, Roy for Roberta Valela                                               3:17-cv-00512       Bums Chateet tiP
 VIsenuove, Chantol br the estate cC Marlyn Bastodonbeck                          3:1 T’cv-12463      Sanders PhilIps Grossman CCC
   neon). Janlca                                                                  3:1 ?.cv.08674      Raasiey, Allan. Crow, Mathvin, Portia, Miles, PC
 Vitals Bntl                                                                      3 1 T-cv-12354      MoreS Law Fllrm PL.LC
 Vosgien, Cede                                                                    3:1?-cv09766        Beasley, Allen. Crow. Methvln, PortIa. Mtlea, PC                              -




 Waatdanburg. Nancy                                                               3:17’ct-0S356       OndertaW CCC
 Wade. Yvonne                                                                     3:1 7-cv-02775      Burn. Charest LLP
 Wagonknecht Vanana                                                               3 TScv.0U26-FLW LHG Saron & Sudd PC
 Wagner, Catrina                                                                  3:1S-cv-O1%77       Simmons Hanly Conroy
 Wagner. Ellzabeth                                                                3:1S’cv-01732       Johnson LawGroup                            -




 Wagner. Emily                                                                    3:17-cv-10090       Beasley. Men. Crow. Methvln, Portia, Miles, PC
 Wall. AnWO                                                                       3:11.cv-091’06      B.asley.A$n, Crow, Mathvln, Portia, MIles, Pc
 Waite, Nancy                                                                     3:17-cv-09700       Beastey, Allan, Crow, Methvln. Portia, Miles. PC
 Waken-Hall, Caroj                                                                3:17’cv-12616        Sanders Phlla Grossman LLC
 W&dman, Susan and David                                                      -   3:17-cv.05391        Kline & Specter PC
 Waflcer. Bertinda                                                                3:1?-Cv-10132        The Cattier Law Firm
 Walker, Darrell for the estate of Donna Jo Walker                                 3:11-cv.12464       Senders Phillips Gtounrien CCC
 Walkor, Janet                                                                    3:17-cv0 084        ndedaw CCC
 Walker. Colha                                                                     3:IY-cv-0I)694      Baasley, Allen. Crow, Methvmn, Portia, Miles. PC
  Walker. Lisa                         —                                           3:1?.cv-12549       The Simon Law PC
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 Walker. Mike on behalf at Vicki Walker                                            3:17’cv-06609       UcGlynn Ghason & Mouton
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 W”ndruKutlar and Walter Thomas Walker Sr                                          3 18cv-OO799        POtts Law Firm
 Walker. Vail for the estate of Sharri Walker                                      3:17-c’-f 0323      The Canler Law Firm
 Wall, Rebecca and Sloven Norris                                                   3:1?-cv’08631       The Canter Law Firm
  Wallabitich, Joanna                                                              3:17-cv-06512       John 0, Slloo
  Waflaco,Davi,d,,,                                                                3:17-cv-O150        Hbuih, Habush & Rallier SC
  Wallace. Elton anil Geoe                                                         3:17-cv-1D1 35      The Lanier Law Firm
  Wallace, Shokia                                                                  3:17-cv.030B6       Johnson Bucker, P1CC
  Wallen, Julio                                                                    317-cv-08668        Beastey. AJla Crow, MathvIn, Porlis, Miles. PC
  Wallick, Laura                                                                   3:1 ?cv-1 1022      Goklenberg Law P1CC
  Wadis, Ocewn                                                                     3:t7-cv.121 76      Chllders. Scltluatar & Smtth CCC
  Waft, Gary obo Kathleen Wails                                                    317cv.0e81O         Wilson Law PA
  Walsh, Put tie                                                                   3:17’cv-08665       Boosley, Allen, Crow, Mathvln, Portia. Miles, PC
  Walton. Brian Individually and as representative of the estate of Michele
  Walton                                                 —                         3:18-cv-O080Z                             Blizzard Law
  Warnack, Dawn                                                                    3:17-cv-12663                             Napoli Shkolnlk P1CC
  Wamaloy. Bonnie                                                                  3:1 7’cv-ltf 18                           The Lanler Law Firm
  Ward, Coil                                                                       3:17.cv-10461                             Beasley. Men, Crow, Mothvtn, Portia. Mites, PC
  Ward. Valerie and Polar                                                          3t7-cv-1OS14                              Golemb& Honick PC
  Wordy, Annelto                                                                   3:17-cv13i20      -                       MoreS Law FIrm P1CC      -




  Warn Theresa                                                                     3 iB-cv-0G$68                             Potts Law Firm
  Warner. Lloyd obo Denise Warner                                                  3:17-cv-0855g                         -   Beasley, Allen, Crow, Methvin, Portia, MIIOSLPC
   qpn. Julia                                                                      3:17-cv.12370                             Ondertaw CCC
  Warren, Sandra                                                                   3:1?-cv-08605                             Beasley, AlIen, Crow, Methvln, Ports. Miles, PC
  Warren Susan                                                                     311.cv 13310                              RobInson Calcagnie INC
  Warshawsky, Beverly ønd Robert                                                   3:17.cv.06986                             The Simon Law PC
  Waryas, Pamela                                                                   3:i?’cv-11738                             Ondartaw tIC
  Waahlnton, Darlene and Charles                                                   3:1 7-cv.08864                            The Canker Law Firm
  Washington. Shanedra                                                             317-cv.12710                              Don Barrett
  Wttrd, Pauletla                                                                  3:lil-cv’00604                            Gobmb & Honick PC
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 Wonthota, Alice Maria Party for (ho estate of Salu irone Morgan                    3:1?-cv-12573                   Sand.ts PhSlps Grasimen ICC
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 Webb, Karyl                    —                                                   3:1 7-cv-D?661    -             Gobonberg Law PLIC
 Webw, Cyndu                                                                        3:17     O776                   Sums Charest UP
 Webster. Angola tot the estate of Vicr<iu Shuaron                                  317-cv-12Y53                    Paul UP
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 Woin, Nancy erd Scott                                                              3:17-cv-0a593                   The Lnlsr Law Firm
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 Welsberçj. Abbie and Milr.hot                                                      317-cv.O6513                    The Simon Law PC
 W&egarber, Je                                                                      3T-cv-($90                      Beasley, Men. Crow MeVwk Porite. MIteL PC
 Weiss. Anne Mario lot Carol Marw Gromaski                                          3:17-cv-1231B                   Don Burreu
 WamtonWu1isobo Palticlu Weiss                                                      317 cv 044                      Beastoy Allen Crow Mathuin Pdis Mites PC
 Watch. Barbara                                                                     3:17-cv-0a229                   Beasley. Allan, Crow. Melhvin, Pants, Mites. PC
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        Jamb                                                                        3:17-cv-131 14                  Moralli Law FIrm P1CC
 Wets, Luclonne and Lee                                                             3:17.cv-05315                   Pelts law Firm
 Wets, Margie                                                                       3:1.cv-O7U93                    Sums Charest LIP
 Welts Michael for the eState of Naomi Welii                                        3 17-ce 1120                  Simmona Hanly Conroy
 Welts. Miw and Ginger Welts Ponninglon and Jonathan Wells                          3;17-cv-0647D                   law FInn ot Ror Rocky Walton. PC
 Netter. William tot the estate of Carolyn Wettet                                   3;17-cv-08166                    Morgan 6 Morgan Morgan 6 Morgan Complex UUgehort Group
 Wengotl, Kri1fna                                                                    3:t7-cv-1186S                   Potts Law Firm
 Werthen. Silt foe Pamela Werthan                                                    3:17-cv-O$61f                  The Canter Law Firm
 Werther, Caroline and Daniel                                                        3:f7-cv-08736                   Levy Saldante Finney & Rubenstain PC
 Wesley, Siephanle                                                                   317.cv-126S8                    Moms Law FkmPLLC
 West. Jane                                                                          3:17-cv..0855a                  Beasley, Man, Crow, Methuin, Perils, Mites, PC
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 Whalloy, Norma                                                                      3:17-cv-07325                   BeIay, Alien, Crow, Mathvln. Porlrs, Miles, PC
 Wheeler. Shea Ann                                                                   3:1 7-cv-09675                  Beaslay, Men, Crow, Mafhvin, PeniS, Mites, PC
 Whelan, lcrisllne                                                                   3:17-cv-10202                   Beasley. Alien, Crow, Malhvln, Prirs, Mites, PC
 Whiiiane. Mickey                                                                    )17-cv-09651                    Beasloy. Allen, Crow, Mathvin, Porbi, Miles, PC
 Whhtaker. Bobbie                                                                    3:17.cv-04834        —          bum Simes LIP
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 Whitaker. Deborah and Jon                                                           3:i7-cv-1083&                   Ashcrafi & Gotet CLP         -




 Whbtaker. Diana                                                                     3:I7-cv-09638                   Beaslay, Men, Crow. Mthvin.Porllk. Miles, PC
 While. Becky                                                           -            3:17.cv-13116                   Moreti Law Firm PLLC
 While, Connie                                                                       3:1B-cv-00573                   Johnson Becker. P1CC
 White, Cynthia DIana                                                                3:1 T-cv-09634           -      Beauiay, Alien, Crow, Metnvln. Perils, Miles. Pc
 While, Gaseconer                                                                    3:iT.ce-12598                   Don Borrelt
 White, Janet                                                                        3:1 7-cv-08774                  Onderisw LLC     —




 While, Jennifer and Konnth                                                     -    3;;7-cv-11423                   Kline 6 Spector PC
 White.                                                                              3:17-cv11303                    Ashcraft & GorelLLP
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 White, Lisa                                                                         3:17-cv-09631                   Beaaiey. Allen, Craw. Uathvin, Portia. Mites, PC
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 White. Sandra                                                                       3:17-Cv-09085                   OnderlawU,C
 White. Shoona                                                                       3:17-ce-I 1322                   Hart McLaughn & Etdndqo
 Whitocotton, Randat Scott, for the estate of Brandy Michase Canton
 Whitecotton                                                                         3:17-ce-I 1028                   Lirvin Simos UP
 Whitonunsi, Mary                                                                    3:17.cv-09778                —   Golemb & Honick PC
 Whilfield, Michael for the estate at Sunja Kay Whidield                             3:l?-cv-11442                    Potts Low Fltm
 Whiltiuld-Glfrnare, Nakia and Aiuilon Giimoto                                       317-cv-10149                     Golemb 6 Honick PC
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 Whitman Brenda                                                                      3 17-ce 09224                    Beasloy Allen Crow Mathein Podia Miles PC
 Whilman. Linda                                                                      3:17’cv’09223                    Boasloy. Men. Crow. Methvin, Portia, Mites, PC
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 Wood Joanna Elaine                                            311.cv-O533               8ea1ey AilenCiow. Mernvln, PorUs Mibi. PC
 Wood. Theodore                                                317-cv09734               Ondotlaw UC
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 Wooce*, James for the estate of Sherry Ann Woodail            317-cv.O568               Potts Law FIrm
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 Woods, Donna                                                  3:l7.cv.09518              B.aalpy, 4’Jln, Crow, Malhvin. PortIa , MIleL PC
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 Worlay, Steven for the estate of Kilo Wortoy                   3:17-cv-12718             Ondertaw CCC
 WrIgh1 Cherte. (Or the estate of Ida Marie Wright              3:18-cv-00581             Potts Law Firm
 Wright. Dianne                                                 3:I7-cv-1156              Ashcreft & Gerot LIP
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 Wright. Jacqudyn                                                  3:11-cv-06695          The Simon Law PC
 Wright, Jeana                                                     3:17.v-Q92f 8          Bessley, AItn, CrOW, MothJn1 PQrtIa, Mllö. PC
 Wright, Linda                                                     3:17.cv..08372         Boastoy, Allen, Crow, Methvin, ParIs, Miles, PC
 Wright. Lisa                                                      3:17-cv.09215          Beasley4 Allen4 Crow. Methvin, Portia, MUSs, PC
 Wright, Nancy      .
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  Wyatt, Jan obo Deborah Wyatt                                     3:17.cv-09438           Boasley, Allan, Crow4 Metiwin, Portia. Miles, Pc
  WaU, Pamela                                                      3:17.cv’10442           Beasley, Allen, Crow, Methvln, Pans, Miles, PC
  Wycoadick. Ruby                                                  3:17-cv-f 1310         Ashcreft & Caret LIP
  Yacenoch Ematsoñ Tern                                            3i?.ev.01796            Montcosctw LIP
  Vandal, Carol and Goorgo                                         3:17.cv.04414           Simmons Hanly Conmy
  Yerne( Cynthia                                                   317’CY’08202            Th.LunlvLawFkm
  Yealr, Jenniler                                                  3:1 8-cv.01338          Johnson Law Group
  York. Beatrice aaker                                             3:1?.cv-10734           Beasley, Allen, Crow, Mathvln, Pods, Miles, PC
  York. Donnt for the ostate of Eleanor York.Bey                   3:17-cv-O9GO9           Ashcrnft & Gerel LIP
  Yost, Belly                                                      3:l1-cv-12512 -         Dan BInatt
  Yost, Linda                                                  -   317 v-lOgle             Uharaft S GreILCP
  Young. Cart for the estate ol Dontia Young                        31f-cv.12372           QpdadewLLC
  Young. Dasiree                                                   3:17.cv.08622           The Canter Law FIrm
  Young, Doncelle                                                   3’v-Ot507             JähflWtlI3WGlOUP
  Young, Gingar                                                     3:11-cv’.08539        Beasley, Men, Crow, Meihvin, PortIa. Miles. PC
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  Young, Tailana                                                    3:1 7-çv-08266        Wition law PA
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  Young-Tune. Deborah                                               3:17cv’.12B$5         Marsh Law Firm P1CC
  Zambrano, Marfluz                                                 317’cy”iOløl          8eSileyAileflCrowMothvin, POrtiL Miles, PC
  Zamora, Luz as heir of Yahaira ANarado                            3:1?.-cv05171         Johnson Backer, P1CC
  Zanda ski, Cathy                                                  318-cv.00?11          Bima Charnel LIP
  Zake. Dianne                                                      3:17.cv-09509         Beasley. Allen. Crow. Methvin!,Portuu, Mites. PC
  Zaviatoski Brenda and MIchael                                     3 17’cv 10158         ggbmb 4 Honick PC
  Zechnian, Mary                                                    3:17-cv.13880         Onderlaw CCC
  tngiey, Diana                                                     3:17’cv.l%208         Fleming. Nolan S JoZ LIP
  Ze1Iet. Jessica                                                   3:17.cv.0853e         Beasley, Men, Crow, Methvln, PortIa. Miles, PC
  Zanti, Carmalla nd Sam                                            3:1Z.cv.Q*184         The Lenten law Firm
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